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                    Case No. 25cv00613 (NOGA) (MLB)
              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


In re:
GROUP MANAGEMENT ~ORP. (Debtor),

03-93031 (BC NDGA), Chapter 11



                                            On appeal in:
ULYSSES T. WARE and d/b/a GROUP MANAGEMENT, (a sole proprietorship),
Appellants,
v.
ALPHA CAPITAL, AG, et al., Unregistered Broker-Dealers,
Appellees.


[Docket Text] March 19, 2025, (17-9) (Part 17-9) APPELLANTS' 28
USC§ 1654 SUPPLEMENTAL MEMORANDUM OF LAW (#5) IN
SUPPORT OF (17-1) MARCH 10, 2025, APPLICATION FOR
ARTICLE III "THRESHOLD" JURISDICTIONAL SHOW CAUSE
ORDER AND OTHER RELIEFS.

Respectfully submitted,
/s/ Ulysses T. Ware


qr :) w
Ulysses T. Ware

                I     {)lrJ.,

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28 USC§ 1654 Attorney-in-fact for Appellants, Group Management (a sole proprietorship) and
Ulysses T. Ware


cc:
The Office of the District Clerk (NDGA).
Executive Director Administrative Office of the U.S. Courts,
Office of the FBI Director,
via U.S. mail.



                    28 USC§ 1654 Pro Se Appellants' Certificate of Filing

I, Ulysses T. Ware, attorney in fact for the Appellants, hereby certify under penalty of perjury that
on this 19th day of March 2025, I caused to be served a true and correct copy of the foregoing
Appellants' Memorandum of Law (#5) in Support of Appellants' March 10, 2025, (17-1) (Part 17-
1) Show Cause Order, Appellate Status Conference, Stay of Briefing Schedule (Dkt. 10), and Other
Reliefs via U.S. mail and electronic mail to the Chambers of the Hon. District Judge Michael L.
Brown and to the Office of the District Clerk (NDGA), Executive Director Administrative Office
of the U.S. Courts, and Office of the FBI Director.


Signed under oath subject to the penalty of perjury having personal knowledge of the facts,
pursuant to 28 USC § 1746 this 19th day of March 2025, in Brooklyn, NY.



v"., ~- w~
)s(y~
For
   sses T. Ware                ·

       ysses T. Ware, a natural person, d/b/a Group Management, a sole proprietorship, pursuant
to 28 USC§ 1654.




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                        The Office of Ulysses T. Ware
                                      123 Linden Blvd., Ste 9-L
                                        Brooklyn, NY 11226
                                           (718) 844-1260
                                       utware007@grnail.com

                             Wednesday, March 19, 2025 , 11:10:24 AM

Re:     APPELLANTS' SUPPLEMENTAL MEMORANDUM OF LAW (#5)

Case Name: Ulysses T. Ware and Group Management v. Alpha Capital, AG, et al.
Case No.: l:25-cv-00613-MLB (NDGA)
Filing Date: March 19, 2025


        RE: (17-9) (Part 17-9) Re: Appellants' Memorandum of Law (#5) in Support of
        Appellants' March 10, 2025, (17-1) (Part 17-1) Show Cause Order, Appellate Status
        Conference, Stay of Briefing Schedule (Dkt. 10), and Other Reliefs.



To: The Honorable Michael L. Brown, United States District Judge, Northern District of Georgia.



From: Appellants Ulysses T. Ware, a natural person, and d/b/a Group Management, a sole
proprietorship submitted pursuant to 28 USC § 1654.

Date: March 19, 2025

Respectfully submitted,

The Office of Ulysses T. Ware

~ :js/ Ulysses T. V:ary
':_I,:{,~     di . w ~
Ulyss~ T. Ware
Attorney in Fact for Appellants Group Management (a sole proprietorship) and Ulysses T. Ware




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       Appellants' Supplemental Memorandum of Law (#5)


I. INTRODUCTION

       Appellants, Ulysses T. Ware and Group Management, by and through their attorney in fact,
Ulysses T. Ware, respectfully submits this Memorandum of Law (#5) in further support of their
Application for a Show Cause Order (17-1), filed on March 10, 2025. This memorandum is
additionally submitted in support of Appellants' request for an Appellate Status Conference, a Stay
of the Briefing Schedule as previously established by the District Clerk (Dkt. 10), and other
associated relief.

        This memorandum will methodically address the critical deficiencies in Article III subject
matter jurisdiction that fundamentally undermine the present appeal, 25cv00613 (NDGA).
Specifically, we will elaborate upon the absence of Article III standing for the 02cv2219 (SDNY)
plaintiffs in the present matter, 25cv00613 (NDGA), as well as in the antecedent proceedings,
02cv22 l 9 (SDNY) and 03-93031 (BC NDGA), Chapter 11 . Our analysis will rigorously examine
the core components of Article III standing as defined by the Supreme Court, particularly in the
context of the enforcement and/or collection' of the Predatory Criminal Usury Subject Matter, GX
1-4, and GX 5.

        The factual and legal predicate for our position and argument in the 03-93031 bankruptcy
court and on appeal in 25cv00613 is the irrefutable fact that the 02cv2219 (SDNY) plaintiffs,
including Kilpatrick Townsend & Stockton LLP ("KTS") and their unregistered broker-dealer
clients, lack the constitutionally mandated elements of Article Ill of the United States Constitution
standing (lawful authority) to pursue claims- 02cv2219 (SDNY) unlawful debt collection, and
03-93031 (BC NDGA), Dkt. 5-2, 5-4, 5-5, and 5-6, enforcement, related to the null and void ab
initio Predatory Criminal Usury Subiect Matter, GX 1-4, and GX 5.

       This fatal jurisdictional flaw and deficiency stem from the void ab initio nature of the
underlying predatory criminal usury debt instruments (GX 1-4, and GX 5), (cf. , NYS Penal Law,
§ 190.40, the criminal usury law, a class E felony) , the self-inflicted nature of any alleged




1
  Cf., 18 USC §§ 195l(a), 1956-57, 1961(6)(B), and 1962(a-d), a pattern of racketeering activities
committed by Appellees their agents (Appellees Grushko, Mittman, Rabinowitz, Morawetz, Baker &
McKenzie, LLP, Mandala, Albaral, Malliband, Leghorn, KTS, its lawyers, Meir, Mills, Walker, and
Kadaba; the Office of the U.S. Trustee, Region 21 , and KTS ' unregistered broker-dealer clients, see 0kt.
5-2, 5-13 on page 48, 5-16, and 0kt. 9 (25cv006 l 3), before, during, and after the 03-93031 Chapter 11-
that is, the ongoing and in current operation predatory Hobbs Act racketeering extortion and unlawful debt
collection conspiracy, cf., Grote, 961 F.3d at 105, 109-119.

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"particularize, concrete injury in fact," and the irrefutable complete absence of "a legally protected
interest" in the Predatory Criminal Usury Debts, Lujan, 504 U.S. at 560-61, GX 1-4, and GX 5. 2

II. ARTICLE III STANDING DEFICIENCIES OF THE 02cv2219 (SDNY) PLAINTIFFS

        The bedrock principle of Article III standing, as consistently articulated by the Supreme
Court, requires that a litigant (Appellees) demonstrate an actual "live" (extant) case or controversy
exists sufficient to invoke fed~ral jurisdiction. This necessitates satisfying three core elements: (1)
injury in fact, (2) causation, and (3) redressability. Lujan v. Defenders of Wildlife, 504 U.S. 555,
560-61 (1992). In the context of this appeal, the purported standing of the 02cv2219 (SDNY)
plaintiffs, now Appellees, crumbles like a house of cards under scrutiny when subjected to this
established analytical framework .

A. Absence of an Article III Particularized and Concrete Injury in Fact

        To establish the constitutionally required "injury in fact," the Supreme Court mandates that
the Appellees' alleged injury as pleaded in the 02cv2219 (SDNY) complaint and in the 03-93031
Chapter 11, Dkt. 5-2, 5-4, 5-5, and 5-6 (25cv-00613) must be both "particularized" and "concrete."
Spokeo, Inc. v. Robins, 578 U.S. 330,340 (2016). A "concrete" injury is one that is "real, and not
abstract," while a "particularized" injury is one that "affect[s] the plaintiff in a personal and
individual way." id. The alleged injury of the Appellees, predicated on the Hobbs Act extortionate
enforcement and/or collection of the null and void ab initio Predatory Criminal Usury Subject
Matter, GX 1-4, and GX 5, egregiously failed, and currently fails to meet this minimum
constitutional threshold.

    1. No Lawful Right or Entitlement to Enforce Void Ab Initio Predatory Criminal Usury
        Debt Obligations: The linchpin of Appellees' purported injury is their claimed inability
        to enforce or collect o~ the Predatory Criminal Usury Subject Matter, GX 1-4, and GX 5. 3
2
 See KTS' binding judicial admissions and confessions pleaded in Dkt. 5-2, 5-4, 5-5, and 5-6 regarding
GX 1-4, and GX 5, Hoodho v. Holder, 558 F.3d 184, 191 (2d Cir. 2009) (parties or their lawyers' judicial
admissions are binding and cannot be altered or changed in litigation), and Adelphia Recovery Trust v.
Goldman, Sachs & Co., 748 F.3d 110, 116 (2d Cir. 2014) (discussing binding judicial admissions in the
bankruptcy context).
3
  See the Appellees' 02cv2219 (SDNY) complaint's manifestly risible claims-binding judicial admissions
and confessions drafted by Appellee Kenneth A. Zitter, Esq. admitting his clients ' knowing violations of
federal criminal law, the Hobbs Act, 18 USC§ 195l(a), and federal racketeering and loan sharking law, 18
USC§§ 1961(6)(B) and 1962(a-d); also see KTS' equally risible and incompetent judicial admissions and
confessions of primary violations of the Hobbs Act and federal bankruptcy conspiracy, loan sharking,
money laundering, and racketeering laws judicially admitted in Dkt. 5-4, 5-4, and 5-6, cf., with Zitter's
binding judicial admissions under oath, in open court in U.S. v. Ware, 04cr1224 (SDNY), Dkt. 9 (F-10 and
F-11) (Zitter testified under oath that KTS and its lawyers were "hired" by him and the 02cv22 l 9 (SDNY
plaintiffs and their agent, Arie Rabinowitz, to obstruct, delay, hinder, and prevent Appellant Group
Management's exercise o[its legal right to reorganize and rid itself of the Predatory Criminal Usury
Subiect Matter, and to also seek to enforce, and seek collection of the Predatory Criminal Usury Subject

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       However, as meticulously detailed in prior submissions, these debt instruments are void ab
       initio under New York Penal Law§ 190.40, the criminal usury law, a class E felony. Loans
       exceeding 25% annual interest [GX 1-4's interest rates exceeded +2,000% annually] are
       deemed criminally usurious and are void from their inception. Adar Bays, LLC v.
       GeneSYS ID, Inc., 28 F.4th 379 (2d Cir. 2022). Given this legal nullity, Appellees cannot
       possess an Article III constitutional lawful claim, right, or entitlement to enforce and/or
       collect these predatory criminal usury unlawful debt obligations. 18 USC § 1961 (6)(B).
    2. Grote Precedent: The Second Circuit in United States v. Grote, 961 F.3d 105, 109-19 (2d
       Cir. 2020), affirmed a criminal conviction and a massive forfeiture judgment of $3.5
       billion for unlawful debt collection activities related to criminally usurious debts. This
       precedent underscores that KTS and its unregistered broker-dealer clients, iointlY? 4
       criminal attempts, see 02cv2219 (SDNY) lawsuit, and 03-93031 Chapter 11 (i.e., Dkt. 5-
       2, 5-4, 5-5, and 5-6) to enforce or collect on criminally usurious debts constitute treble (3x)
       and punitive damages (+$5.2225 billion) racketeering unlawful debt collection activity, 5
       not a legally protected right. 6 Thus, any alleged "injury" stemming from Appellees KTS
       and their unregistered broker-dealer clients' inability to enforce and/or collect (Dkt. 5-2. 5-

Matter, GX 1-4, and GX 5, using the 03-93031 bankruptcy proceedings as unlawful debt collection
activities, cf., Grote, 961 F.3d at 105, 109-19.

4
 Appellees KTS, Meir, Mills, Kadaba, Walker, Zitter, Rabinowitz, and their agents in fact, Appellees James
H. Morawetz, Esq., Mary Ida Townson, Esq., R. Jeneane Treace, Esq., convicted felon Edward M. Grushko,
Esq. , Barbara R . Mittman, Esq., Lawrence B. Mandala, Esq., Robert H. Albaral, Esq., David J. Malliband,
Esq., Thomas A. Leghorn, Esq., and Baker & McKenzie, LLP, all have joint and several racketeering, 18
USC § 1962(d), criminal exposure, culpability, and risk for their direct and/or indirect aiding, abetting,
assisting, facilitating, and/or participation in the unregistered broker-dealers' commission of two or more
acts ofracketeering activities, or (ii) a single act of unlawful debt colleciion activity, see Grote, Id. at 119.

5
   U.S. v. Giovanelli, 945 F.2d 479,490 (2d Cir. 1991) ("Unlike a "pattern of racketeering activity" which
requires proof of two or more e;edicate actst to satisfy RICO's "collection of unlawful debt" definition
the government need only demonstrate a single collection. See United States v. Vastola, 899 F .2d 2 11,
228 n. 21 (3d Cir.), vacated and remanded on other grounds,_ U.S . _ , 110 S.Ct. 3233 , 111 L.Ed.2d
744 (1990); United States v. Pepe, 747 F.2d 632. 645 (11th Cir. 1984). Compare 18 U.S.C. §
1961(5) with 18 U .S.C. § 1961(6). Here, the jury found that the defendant had engaged in the collection of
unlawful debt from three individuals: John Marsala, Barbara Messina Kranz, and Larry Alfano.").
( emphasis added). ( emphasis added).

6
  KTS ' primary liability insurance carrier(s) John Doe Insurance Companies (## 1-5) are jointly and
severally liable for bad faith refusal to comply with OCGA §§ 16-14-5(a)(xxxviii), 33-1-9, and 33-3-
28(a)(l), (2), and disclosure to Appellants upon demand, all policy information-that is, conspiracy to
commit insurance fraud in violation of the State Bar of GA's Rule 8.4 (fraud, deceit, misrepresentation, and
deception), an asset of the Chapter 11 estate, 11 USC§ 54l(a)(2), required to be turned over immediately
to Appellants and the District C~mrt (NDGA) pursuant to 11 USC § 542(a), held in constructive trust held
by fiduciaries of the Chapter 11 Debtor, see Sand, J., Aug. 13, 2003, Order (25cv00613 (NOGA) Dkt. 5-13
on pages 43-45), finding KTS' clients to be 15 USC 78p(b) statutory insiders of the Chapter 11 Debtor,
Appellant Group Management, cf., Roth , 489 F.3d at 506-10 (all short-swing illegal insider-trading profits
[+$522 million] must be disgorged back to the issuer (i.e., the Chapter 11 estate in 03-93031 ).

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       4, 5-5, and 5-6) void and criminally usurious debts, GX 1-4, legally is not, and ipso facto
       cannot be recognized as "a particularized, concrete injury in fact" for Article III
       constitutional standing purposes- that is, (A) the 02cv22 l 9 (SDNY) lawsuit is null and
       void ab initio and moot, and (B) all aspects of Dkt. 5-1 to 5-10 entered in 03-93031 are null
       and void ab initio, moot, nullities, and ultra vires. See Steel Co., 523 U.S. at 93-95.
    3. No Cognizable Harm Resulted from Appellants' Nonpayment of the Predatory
       Criminal Usury Subject Matter, GX 1-4: The purported "injury" claimed by Appellees
       in the 02cv2219 (SDNY lawsuit, and in the Chapter 11, 03-93031 , see Dkt. 5-1 to 5-10, is
       essentially the non-payment of predatory criminal usury unlawful debts, GX 1-4, that are
       legally unenforceable and criminally usurious. This legally cannot constitute a cognizable
       harm under Article III. 7 As the Supreme Court has articulated, a purely theoretical
       " interest" is insufficient to establish injury in fact. Lujan, 504 U.S. at 560. The Appellees'
       risible claim is, at best, a theoretical personal and petty grievance stemming from their
       inability to profit from their voluntary Hobbs Act predatory loan sharking, money
       laundering, and racketeering unlawful debt conspiracy criminal enterprise's unlawful
       scheme.

B. Absence of the Constitutionally Required "Legally Protected Interest" in the Predatory
Criminal Usury Subject Matter, GX 1-4, and GX 5.

        Article III standing requires an invasion of a "legally protected interest." Lujan , 504 U.S.
at 560. Appellees' alleged "legally protected interest" is purportedly rooted in the Predatory
Criminal Usury Subject Matter's unlawful debt enforcement and collection, see Dkt. 5-1 to 5- I 0
(25cv00613). However, this assertion is fundamentally flawed and fatal to Article Ill's
constitutional standing requirement regarding the 02cv2219 (SDNY) lawsuit, and the Appellees'
unlawful appearance in 03-93031 , see Dkt. 5-2 on Apr. 10, 2003, by and through Appellees KTS,
Meir, Mills, Walker, and Kadaba.

    l. GX 1-4 and GX S's Unenforceability Under State and Federal Law: The Appellees,
       plaintiffs in 02cv2219 (SDNY), and petitioners in 03-93031 (see Dkt. 5-2, 5-4, 5-5, and 5-
       6), see Lujan, 504 U.S. at 560-61 (the plaintiffs/petitioner's seeking judicial relief have the
       burden of proof and production to "affirmative establish standing) have not and cannot
       produce any statute, constitutional provision, or common law principle that recognizes a
       legally protected interest in enforcing or collecting criminally usurious contracts. 8
    2. To the contrary, both state and federal law actively prohibit and criminalize such activity.
       New York Penal Law § 190.40, alongside federal racketeering statutes (18 U.S.C. §§

7
  See NYS Penal Law, § 190.40, the criminal usury law, a class E felony-GX 1-4 are null and void ab
initio, unenforceable, and uncollectible in all federal and/or state courts, and lack preclusive effect, "a
nullity." Steel Co., Id.

8
  There is no proof in the Joint Stipulated Appellate Record, Dkt. 5, and Dkt. 9, provided by KTS or its
unregistered broker-dealer clients, introduced in the 03-93031 bankruptcy court, and admitted into evidence
that "affirmatively established" all elements of Article III constitutional standing apropos GX 1-4, and GX
S's enforcement or collection. Lujan, Id. , Steel Co., Id. at 93-95 .

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         1951(a), 1961(6)(B), 1962(a-d)), explicitly criminally, and harshly condemn and penalize
         predatory lending and the collection of usurious debts .
      3. KTS' Clients' Unregistered Broker-Dealer Status: Further compounding the absence of
         a legally protected interest is the regulatory certified indisputable fact that Appellee KTS'
         clients have been certified by FTNRA on May 17, 2021 (see 0kt. 5-13 on page 48) as
         unregistered broker-dealers. This unregistered status renders any contracts formed or
         performed in violation of registration requirements void ab initio under 15 U.S.C. §
         78cc(b ). This statutory invalidity further eviscerates any claim to a legally protected
         interest in the Predatory Criminal Usury Subject Matter.

C. Self-Inflicted Injury and Lack of Traceability

        Even if, arguendo, Appellees could demonstrate a concrete injury, that injury must be
"fairly traceable to the challenged action of the defendant, and not the result of the independent
action of some third party not before the court." Simon v. Eastern Ky. Welfare Rights Org., 426
U.S. 26, 41-42 (1976). Here, any alleged injury is demonstrably self-inflicted by Appellees ' own
criminal misconduct, and not fairly traceable to any lawful conduct by the Appellants' refusal to
criminally violate the federal securities and racketeering laws and issue bogus and fraudulent Rule
144(k) legal opinions of KTS ' unregistered broker-dealer clients- 15 USC 77b(a)(l 1) statutory
underwriters, affiliates, fiduciaries, and 15 USC § 78p(b) statutory insiders of the Chapter 11
Debtor (e.g., see Sand, J. Aug. 13, 2003, court order, 0kt. 5-13 on pages 43-45, ruling that KTS'
unregistered broker-dealer clients also had previously lied, committed perjury, and committed
fraud on the 02cv2219 (SONY) and 03-93031 (BC NDGA) Chapter 11 federal courts regarding
their "beneficial ownership" in the Chapter 11 Debtor's equity securities) 9 to enable a criminal
unregistered public offering of the Chapter 11 Debtor's unregistered securities in violation of 15
USC§§ 77e, 77x, 78o(a)(l), 78p(b), 78ff, and SEC Release 33-7190 n. 17 (1995), cf., Berckeley,
455 F.3d at 220 (citing SEC.Release 33-7190), and 18 USC§§ 2, 152, 157, 371 , 924(a), 1341 ,
1343, 1344, 1503, 195l(a), 1956-57, 1961(6)(B), and 1962(a-d).

      1. Appellees' Voluntary Participation in the Hobbs Act Loan Sharking, Money
         Laundering, and Unlawful Debt Collection Criminal Enterprise's Unlawful Scheme:
         Appellees knowingly, willfully, and voluntarily since on or about 2001 continuing without
         interruption to the present (2025) have engaged in the predatory criminal usury scheme and
         the associated unlawful debt collection activities described herein with respect to "a good
         few hundred" predatory unlawful debt transactions according to the sworn in open court
         testimony of Appellee Arie Rabinowitz in Nov. 2007. 10

9 Pursuant
           to 11 USC §§ 54l(a)(l), 542(a), and 15 USC§ 78p(b), see Roth v. Jennings , 489 F.3d 499, 506-
10 (2d Cir. 2007) (Kearse, J.) each of judicially ruled by Judge Sand's final order, (25cv00613 Dkt. 5-13
on pages 43-45) KTS ' statutory insider clients, see Dkt. 5-2, as a matter oflaw, are required to right now
during this appeal proceeding turnover +$522 million in illegal strict-liability short swing pro_.its to the
District Court (NDGA) for administration to the lawful creditors in 03-93031.

10
     See 25cv00613 Dkt. 5-13 on page 52.


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     2. Their criminal culpability and predicament is a direct consequence of their own personal
        choices and actions, not of any unlawful conduct by Appellants. To the extent that
        Appellees have incurred litigation expenses or suffered any other form of harm, such harm
        is a direct result of their own voluntary participation in the activities of the Hobbs Act
        predatory loan sharking, money laundering, and unlawful debt collection criminal illegal
        enterprise's pattern of racketeering activities. See Id. Dkt. 5-13 on page 60.
     3. No Traceability to Lawful Conduct: Appellants' actions, specifically their refusal to
        facilitate, assist, enable, and abet unlawful securities transactions and their challenge to the
        enforcement and collectability of void and criminally usurious debts, 11 constitute lawful
        conduct protected under federal and state law. Any "injury" Appellees claim is not fairly
        traceable to this lawful resistance but rather to the inherent risks and consequences of their
        own illegal scheme.

D. Lack of Redressability

        The final element of Article III standing requires that "it must be likely, as opposed to
merely speculative, that the injury will be redressed by a favorable decision." Lujan , 504 U.S. at
561. In this instance, the relief sought by Appellees-enforcement and collection of the Predatory
Criminal Usury Subject Matter-is legally impermissible and constitutionally infirm.

     1. Federal Courts Cannot Validate Illegal Obligations: A federal court cannot issue an
        order that would effectively validate and enforce criminally usurious and void ab initio
        debt instruments. To do so would be to contravene established public policy, state usury
        laws, 12 and federal racketeering statutes. Consequently, no favorable decision from this
        Court could redress Appellees ' purported injury because the very "relief' they seek is
        unlawful. 13

11
   See 03-93031 Dkt. 5, (25cv00613 Dkt. 5-17 on page 2) Appellants' motion to reject GX 1-4, and GX 5
as unlawful executory contracts pursuant to 11 USC§ 365(a)(2). In re Venture Mortgage Fund, L.P., 282
F.3d 185 (2d Cir. 2002) (Criminal usury debts [GX 1-4] are void ab initio and not enforceable in [the 03-
93031 Chapter 11] bankruptcy). (emphasis added).
12
   "Property interests are created and defined by state law. Unless some federal interest requires a different
result, there is no reason why such interests should be analyzed differently simply because an interested
party is involved in a bankruptcy proceeding. "Butner v. United States, 440 U.S. 48, 55 (1979).

13
   The Second Circuit' s decision in In re Venture Mortgage Fund, L.P., 282 F.3d 185 (2d Cir. 2002)
establishes a firm legal precedent regarding the unenforceability of criminally usurious debts in bankruptcy
proceedings. Under New York Penal Law § 190.40, any loan, GX 1-4, carrying an interest rate exceeding
25% per annum (+2,000%) is classified as criminally usurious. Such contracts, GX 1-4, are not only
unenforceable but are also deemed void ab initio as a matter of public policy. Because these debts are
unlawful trom their inception, "they cannot create a legally cognizable claim in any court,"including a
'bankruptcy proceeding. Recognizing the equitable nature of bankruptcy courts, the Second Circuit ruled
that a bankruptcy court [03-93031 BC NDGA)] cannot validate [Dkt. 28, 03-93031] or enforce claims
[25cv00613 Dkt. 5-7. 5-8, 5-9, and 5-10] arising from illegal agreements. Since criminally usurious debts
are considered legally nonexistent, creditors [Appellee KTS ' unregistered broker-dealer clients]
attempting to collect on such debts [Dkt. 5-1 to 5-6] lack standing to assert their claims. A void contract

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    2. Voidness Precludes Redress: The void ab initio nature of the Predatory Criminal Usury
       Subject Matter renders any attempt to redress Appellees ' alleged injury legally futile. The
       Court cannot compel Appellants to honor obligations that are deemed nullities under the
       law.

III. LACK OF RIPENESS OF THE 25cv00613 (NDGA) APPEAL

        Beyond the fundamental deficiencies in Article III standing, the present 25cv00613
(NDGA) appeal also suffers from a critical lack of ripeness. Ripeness, as a core component of
justiciability, Article III jurisdiction, ensures that federal courts do not issue advisory, ultra vires,
and moot opinions or become entangled in disputes that are not yet sufficiently defined or concrete.
Nat'[ Park Hospitality Ass'n -v. Dep't of Interior, 538 U.S. 803, 807-08 (2003); cf. Steel Co., 523
U.S. at 94-95 (regarding advisory opinions by federal courts).

A. Uncertain Appellee Identities and Privy Status of all Appellees is a "Threshold"
Jurisdiction Factual Matter that Must be Resolved by the District Court Forthwith "First"
Before Proceeding to the Merits of the Appeal. Steel Co., Id.

         A significant impediment to ripeness in this appeal is the unresolved uncertainty
surrounding the exact identities and legal status of the Appellees. As detailed in Appellants'
Memorandum Letter Brief (#4) (17-8), the District Clerk's notice (Dkt. 281 in 03-93031) lists a
multitude of parties, including attorneys, insurance companies, and entities, having criminal
liability and culpability for unlawful debt collection activities associated with GX 1-4 and GX 5,
whose precise legal relationship to the lead Appellee, Alpha Capital, AG, and the 02cv2219
(SDNY) plaintiffs-who are subject to Judge Sand's Dec. 20, 2007, Dkt. 90, voluntary Rule
41(a)(2) final judgment's preclusive effects of res judicata and collateral estoppel, and in privy
with and to each other, remains unknown and undefined.

    J.   Need for Clarification of Real Parties in Interest Legal Identities and Legal Status
         Apropos Judge Sand's Rule 41(a)(2) Final Judgment: To competently and timely
         prepare Appellants' opening brief, it is imperative that this Court and the Appellants know


confers no rights upon a creditor, and courts cannot be used as instruments to legitimize or enforce
obligations that violate fundamental public policy. Furthermore, the ruling in Venture Mortgage reinforces
the well-established doctrine that federal courts must apply state usury laws when evaluating the validity
of claims in bankruptcy (03-93031). This aligns with the Supreme Court's decision in Butner v. United
States, 440 U.S. 48, 55 (1979), which holds that state law governs property rights in bankruptcy unless
federal law dictates otherwise. Because New York Penal Law,§ 190.40, the criminal usury law, a class E
felony, explicitly declares criminally usurious debts void ab initio, federal courts [02cv2219 (SDNY),
04cr 1224 (SDNY), and 25cv00613 (NDGA) ]- including bankruptcy courts [03-93031 ]-must adhere to
this principle and deny recognition of such claims. Thus, the Second Circuit's ruling in Venture Mortgage
confirms that criminally usurious debts, GX 1-4, hold no legal weight and cannot be enforced or,
recognized in any bankruptcy case, reinforcing the overriding public policy interest in preventing illegal
lending practices from being legitimized through judicial proceedings.


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         the exact legal identities of all adverse real parties in interest and their "privies." As
         Federated Dep't Stores, Inc. v. Moite, 452 U.S . 394, 398, 401-02 (1981), definitively
         establishes, a final judgment in this 25cv00613 (NDGA) appeal will bind not only the
         named Appellees but also their "privies." Thus, the exact legal identities and status of all
         Appellees (including iohn Doe Insurance Companies ##1-5 and their insureds), and their
         "privies" must be completely and fully known by the Appellants and the District Court
         "first" before proceedings to the preparation and merits of the pending appeal. Steel Co.,
         Id.
      2. Preclusive Effect of 02cv2219 (SDNY) Judgment: The Dec. 20, 2007, Dkt. 90, voluntary
         Rule 41(a)(2) final judgment in 02cv2219 (SDNY), entered by Judge Sand, further
         complicates the matter. This judgment, binding on the 02cv22 l 9 plaintiffs and their privies,
         carries profound res judicata and collateral estoppel preclusive effects. The present appeal
         is jurisdictionally infirm absent clarification of the parties and their "privy" status due to
         this preclusive effect. 14
      3. Procedural Anarchy and Undermined Integrity: The failure to immediately resolve
         these fundamental "threshold" jurisdictional issues leaves both the Court, the Appellants,
         and the putative Appellees in a state of uncertainty and confusion. This avoidable
         ambiguity undermines the integrity of the appellate process and necessitates immediate
         judicial intervention to identify all adverse real parties in interest and their "privies."

IV. REQUEST FOR RELIEF

        For the aforementioned reasons, and in the interest of judicial economy and the sound
administration of justice, Appellants respectfully request that this Honorable Court forthwith grant
the following relief:         ·

      1. Convene an Appellate Status Conference: Forthwith convene an Appellate Status
         Conference to address the threshold Article III jurisdictional defects and clarify the
         identities of all real parties in interest Appellees and their privies.
      2. Issue a Show Cause Order: Issue a Show Cause Order directing each Appellee to clarify
         their identity, legal status, and basis for asserting Article III standing, particularly in light
         of the Rule 41(a)(2) final judgment and the predatory nature of the underlying debt
         instruments, and file under oath subject to the penalty of perjury a District Court (NDGA),
         ABA, and State Bar of Georgia, Rules 3 .3 and 8.4 Declaration with respect to Dkt. 5-1 to
         5-10, Dkt. 5-16, and Dkt. 9 (25cv00613) (NDGA).
      3. Stay the Briefing Schedule: Stay the Briefing Schedule announced by the District Clerk
         on March 17, 2025 (Dkt. 10), pending resolution of the jurisdictional issues and party
         clarification.

V. CONCLUSION




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     See 25cv00613 (NDGA) Dkt. -5-13 on pages 46-48.

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       The absence of Article III standing and the lack of ripeness in the present appeal are not
mere procedural technicalities but fundamental jurisdictional defects that preclude this Court from
proceeding to the merits. The Appellees lack a concrete injury in fact, a legally protected interest,
and redressability, all of which are constitutionally mandated for Article III standing. Furthermore,
the uncertainty surrounding the identities of the real parties in interest and their privy status renders
the appeal unripe for adjudication.

        To safeguard the integrity of the judicial process and uphold the constitutional limitations
on federal court jurisdiction, Appellants respectfully implore this Honorable Court to grant the
requested relief and issue the Show Cause Order, convene an Appellate Status Conference, and
stay the briefing schedule pending resolution of these critical jurisdictional issues.

Respectfully submitted,

The Office of Ulysses T. Ware

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~a.., LAA ;) , w'(JU-
Uly~sJi"T.W are
Attorney in Fact for Appellants Group Management (a sole proprietorship) and Ulysses T. Ware




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